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October 9, 2020

VIA ECF
Hon. Kevin Castel
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007

                          Re:     Mattel, Inc. v. 2012Shiningroom2012, et al.
                                  Civil Case No. 18-cv-11648 (PKC)
                                  Letter Withdrawing Plaintiff’s Request for Attorneys’ Fees

Dear Judge Castel,

        We represent Plaintiff Mattel, Inc. (“Plaintiff” or “Mattel”), in the above-referenced action.1
Plaintiff hereby withdraws its request for attorneys’ fees against the Wang Defendants and respectfully
requests that the Court enter judgment in accordance with the Proposed Final Judgments Plaintiff is
electronically filing contemporaneously with this letter.

        We thank the Court for its time and attention to this matter.

                                                            Respectfully submitted,

                                                            EPSTEIN DRANGEL LLP
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1
 Where a defined term is referenced herein but not defined, it should be understood as it is defined in the Complaint or
Application.
